                                       Case 4:19-cv-07562-PJH          Document 379     Filed 03/22/23    Page 1 of 24




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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                  7     CISCO SYSTEMS, INC., et al.,
                                                                                        Case No. 19-cv-07562-PJH
                                  8                   Plaintiffs,

                                  9            v.                                       ORDER RE MOTIONS FOR SUMMARY
                                                                                        JUDGMENT
                                  10    WILSON CHUNG, et al.,
                                                                                        Re: Dkt. Nos. 251, 261
                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14          The parties’ motions for summary judgment came on for hearing before this court

                                  15   on February 2, 2023. Plaintiffs Cisco Systems, Inc. and Cisco Technology, Inc.

                                  16   (collectively, “Cisco”) were represented by Justin Wilcox, Carson Olsheski, Sumeet Dang,

                                  17   and Julianne Thomsen. Defendant Plantronics, Inc. (dba “Poly”) was represented by Jon

                                  18   Dean, Russell Hayman, Tala Jayadevan, and Michelle Lowery. Defendant Wilson Chung

                                  19   was represented by Daniel Muller. Having read the papers filed by the parties and

                                  20   carefully considered their arguments and the relevant legal authority, and good cause

                                  21   appearing, the court hereby rules as follows.

                                  22                                         BACKGROUND

                                  23          This is a trade secrets case. Plaintiff Cisco is a California corporation that

                                  24   designs, engineers, manufactures, and sells software, hardware, and other electronic

                                  25   devices. Second Amended Complaint (“SAC”) ¶¶ 2, 11. Defendant Poly is “in the IP

                                  26   telephone, headset, video, and collaboration space” and is a market competitor to

                                  27   plaintiff. Id., ¶ 13. Defendant Chung previously worked for Cisco, where his

                                  28   responsibilities included developing plaintiff’s collaboration products, including “IP
                                       Case 4:19-cv-07562-PJH         Document 379         Filed 03/22/23   Page 2 of 24




                                  1    telephony solutions and audio headsets.” Id., ¶ 27. Incidental to his role, Chung had

                                  2    access to Cisco’s alleged trade secrets, including “design specifications, schematics,

                                  3    source code, product market analyses, and vendor contract details.” Id.

                                  4           In February 2019, Chung left Cisco to begin work at Poly. Cisco alleges that

                                  5    Chung overlapped his two positions, starting at Poly on February 26, 2019, but not

                                  6    ending his Cisco employment until February 28, 2019. SAC, ¶ 62-63, 69-70.

                                  7           Cisco alleges a series of instances between February 3, 2019 and at least March

                                  8    8, 2019 in which Chung downloaded, copied, or emailed various Cisco documents and

                                  9    files concerning certain technological and business subject matter. SAC, ¶¶ 37-81. It is

                                  10   these documents that contain the trade secrets that are the subject of this litigation.

                                  11          Cisco first became aware of potential trade secret misappropriation not by Chung

                                  12   but by another employee who left Cisco for Poly – James He, who was originally named
Northern District of California
 United States District Court




                                  13   as a defendant in this case, but who has since been voluntarily dismissed. See Dkt. 187.

                                  14   On August 2, 2019, Cisco alerted Poly to potential misappropriation by He. SAC, ¶ 130.

                                  15   On September 9, 2019, Cisco alerted Poly to potential misappropriation by Chung. Id., ¶

                                  16   87; Dkt. 261, Ex. 41.

                                  17          Poly conducted an investigation into Chung’s conduct, and determined that five

                                  18   Cisco documents had been found on Chung’s devices. SAC, ¶ 87. Cisco further alleges

                                  19   that, after Chung received a document preservation notice, he deleted files in an attempt

                                  20   to “conceal his misappropriation.” Id., ¶ 91.

                                  21          On October 10, 2019, Poly informed Cisco that it had placed Chung on

                                  22   administrative leave. SAC, ¶ 97. Poly also retained a neutral third-party forensics firm to

                                  23   conduct an investigation of Chung’s devices. Id. When Poly brought Chung back to

                                  24   work, Cisco filed this suit. Id.

                                  25          The scope of the complaint has been narrowed since its filing, and the following

                                  26   claims remain: (1) violation of the federal Defend Trade Secrets Act (“DTSA”), 18 U.S.C.

                                  27   § 1836, against Chung, (2) violation of the California Uniform Trade Secrets Act

                                  28   (“CUTSA”), Cal. Civ. Code § 3426, against Chung, (3) violation of the DTSA, against
                                                                                       2
                                       Case 4:19-cv-07562-PJH         Document 379      Filed 03/22/23    Page 3 of 24




                                  1    Poly, and (4) violation of the CUTSA, against Poly.

                                  2           Notably, Cisco seeks only injunctive relief as to Chung. Dkt. 301 at 13. As to

                                  3    Poly, Cisco seeks both injunctive relief and damages.

                                  4           At various times, the scope of this lawsuit included all of the following alleged trade

                                  5    secrets: Project Sunkist, Project Polaris, Project X, Project Liberator, Project Rialto,

                                  6    Cisco’s partner margins, Cisco’s limited restructurings, Project Hopen, Project Havella,

                                  7    Project Vecchio, Bookings data, and ASP forecasts trade secrets. See Dkt. 261 at 25.

                                  8    The scope has now been narrowed to include just two: Project Sunkist and Project

                                  9    Polaris. See Dkt. 310 at 14.

                                  10          Project Sunkist is a Bluetooth wireless headset with a voice microphone, ultimately

                                  11   released as the Cisco 730 Headset. See, e.g., Dkt. 310 at 14; Dkt. 261 at 13-14.

                                  12          Project Polaris is a “videoconferencing desktop product,” ultimately released as
Northern District of California
 United States District Court




                                  13   the WebEx Desk Pro. See, e.g., Dkt. 310 at 14; Dkt. 261 at 14.

                                  14          Both defendants have moved for summary judgment as to all claims asserted

                                  15   against them. See Dkt. 251, 261. Cisco has moved for partial summary judgment on

                                  16   certain affirmative defenses. See Dkt. 252. Cisco has also filed two motions for

                                  17   spoliation sanctions, seeking case-terminating sanctions or, in the alternative, an adverse

                                  18   inference. See Dkt. 230, 233. Poly has also filed Daubert motions as to three of Cisco’s

                                  19   experts. See Dkt. 248, 253, 258. In connection with the aforementioned motions, the

                                  20   parties have also filed many motions to seal – thirty-five (35), to be exact. See Dkt. 228,

                                  21   229, 231, 232, 239, 241, 249, 250, 254, 255, 259, 260, 262, 263, 266, 267, 269, 270,

                                  22   271, 279, 280, 283, 284, 287, 295, 296, 302, 303, 304, 307, 308, 309, 311, 331, 334.1

                                  23                                          DISCUSSION

                                  24   A.     Legal standard for summary judgment

                                  25          Summary judgment is proper where the pleadings, discovery, and affidavits show

                                  26

                                  27   1
                                         The parties filed an additional twelve (12) sealing motions in connection with Cisco’s
                                  28   later-filed Daubert motions. See Dkt. 339, 341, 342, 345, 347, 348, 349, 351, 352, 365,
                                       367, 372. This brings the total number of sealing motions to forty-seven (47).
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                                       Case 4:19-cv-07562-PJH         Document 379         Filed 03/22/23    Page 4 of 24




                                  1    that there is “no genuine dispute as to any material fact and the movant is entitled to

                                  2    judgment as a matter of law.” Fed. R. Civ. P. 56(a). Material facts are those which may

                                  3    affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

                                  4    (1986). A dispute as to a material fact is genuine if there is sufficient evidence for a

                                  5    reasonable jury to return a verdict for the nonmoving party. Id. “A ‘scintilla of evidence,’

                                  6    or evidence that is ‘merely colorable’ or ‘not significantly probative,’ is not sufficient to

                                  7    present a genuine issue as to a material fact.” United Steelworkers of Am. v. Phelps

                                  8    Dodge Corp., 865 F.2d 1539, 1542 (9th Cir. 1989) (citation omitted).

                                  9           Courts recognize two ways for a moving defendant to show the absence of

                                  10   genuine dispute of material fact: (1) proffer evidence affirmatively negating any element

                                  11   of the challenged claim and (2) identify the absence of evidence necessary for plaintiff to

                                  12   substantiate such claim. Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099,
Northern District of California
 United States District Court




                                  13   1102 (9th Cir. 2000) (“In order to carry its burden of production, the moving party must

                                  14   either produce evidence negating an essential element of the nonmoving party's claim or

                                  15   defense or show that the nonmoving party does not have enough evidence of an

                                  16   essential element to carry its ultimate burden of persuasion at trial.”).

                                  17          “Once the moving party meets its initial burden, the nonmoving party must go

                                  18   beyond the pleadings and, by its own affidavits or by the depositions, answers to

                                  19   interrogatories, and admissions on file, come forth with specific facts to show that a

                                  20   genuine issue of material fact exists.” Hansen v. United States, 7 F.3d 137, 138 (9th Cir.

                                  21   1993) (per curiam). “When the nonmoving party relies only on its own affidavits to

                                  22   oppose summary judgment, it cannot rely on conclusory allegations unsupported by

                                  23   factual data to create an issue of material fact.” Id.

                                  24          The court must view the evidence in the light most favorable to the nonmoving

                                  25   party: if evidence produced by the moving party conflicts with evidence produced by the

                                  26   nonmoving party, the judge must assume the truth of the evidence set forth by the

                                  27   nonmoving party with respect to that fact. See Tolan v. Cotton, 134 S. Ct. 1861, 1865

                                  28   (2014); Leslie v. Grupo ICA, 198 F.3d 1152, 1158 (9th Cir. 1999). However, when a non-
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                                       Case 4:19-cv-07562-PJH             Document 379       Filed 03/22/23   Page 5 of 24




                                  1    moving party fails to produce evidence rebutting defendants’ showing, then an order for

                                  2    summary adjudication is proper. Nissan Fire, 210 F.3d at 1103 (“If the nonmoving party

                                  3    fails to produce enough evidence to create a genuine issue of material fact, the moving

                                  4    party wins the motion for summary judgment.”).

                                  5    B.     Analysis

                                  6           1.      Injunctive relief

                                  7           As mentioned above, Cisco seeks injunctive relief as to both defendants, and both

                                  8    defendants have moved for summary judgment. The court will first address the injunctive

                                  9    relief arguments as they apply to each defendant, and then will address the damages

                                  10   arguments as they apply to Poly.

                                  11          A plaintiff must demonstrate constitutional standing separately for each form of

                                  12   relief requested. Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. Inc., 528 U.S. 167,
Northern District of California
 United States District Court




                                  13   185 (2000). To have Article III standing to seek injunctive relief, a plaintiff must show

                                  14   that: (1) he is under threat of suffering injury in fact that is concrete and particularized; (2)

                                  15   the threat is actual and imminent, not conjectural or hypothetical; (3) the threat is fairly

                                  16   traceable to the challenged action of the defendant; and (4) it is likely that a favorable

                                  17   judicial decision will prevent or redress the injury. See, e.g., Summers v. Earth Island

                                  18   Institute, 555 U.S. 488, 493 (2009).

                                  19          In other words, the “threatened injury must be certainly impending to constitute

                                  20   injury in fact” and “allegations of possible future injury are not sufficient.” Clapper v.

                                  21   Amnesty Int'l USA, 568 U.S. 398, 409 (2013).

                                  22          As an initial matter, Cisco made clear at the hearing that it no longer seeks

                                  23   injunctive relief as to the Sunkist-related information. Dkt. 371 at 69:4-6. Thus, the court

                                  24   will evaluate only Cisco’s standing to seek injunctive relief as to the Polaris-related

                                  25   information.

                                  26                  a.     Standing to seek injunctive relief as to Chung

                                  27          Cisco argues that it faces a threat of injury due to Chung’s continued possession

                                  28   of an external hard drive containing the Polaris-related information. Dkt. 301 at 15-21.
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                                       Case 4:19-cv-07562-PJH         Document 379         Filed 03/22/23   Page 6 of 24




                                  1    Chung disputes that he is in possession of the hard drive, and argues that Cisco cannot

                                  2    raise a triable issue of fact on the issue of whether he indeed possesses it. Dkt. 251 at

                                  3    14-15. While the court finds that Cisco’s position is based largely on speculation, it is

                                  4    also true that the court on summary judgment is to view the evidence in the light most

                                  5    favorable to the non-moving party, and to construe disputed evidence in the non-moving

                                  6    party’s favor. Thus, for purposes of evaluating Chung’s motion for summary judgment,

                                  7    the court will assume that Cisco can indeed show that Chung is in possession of the hard

                                  8    drive. However, even with that assumption, Cisco must still show that there is a threat of

                                  9    misappropriation that an injunction would prevent.

                                  10          Cisco cites a California state court case holding that “threatened misappropriation

                                  11   is established by the following essential facts: (1) trade secrets, (2) that remain in the

                                  12   possession of a defendant, (3) who actually has misused or disclosed some of those
Northern District of California
 United States District Court




                                  13   trade secrets in the past.” Dkt. 301 at 9 (citing Central Valley Gen. Hospital v. Smith, 162

                                  14   Cal.App.4th 501, 527 (2008)).

                                  15          In Poly’s opposition to Cisco’s sanctions motion, Poly cites Cisco’s own damages

                                  16   expert as acknowledging that he had “not reviewed any evidence in this matter indicating

                                  17   that Chung shared the Polaris trade secrets with Poly or that Poly incorporated the

                                  18   Polaris trade secrets into its products or otherwise utilized the Polaris trade secrets.” Dkt.

                                  19   242 at 9 (citing Ex. 31 at ¶ 33).

                                  20          In other words, Cisco has not presented any evidence that Polaris documents

                                  21   were ever shared by Chung. On those facts, Cisco cannot to establish that it is “under

                                  22   threat of suffering injury in fact that is concrete and particularized,” and that “the threat is

                                  23   actual and imminent, not conjectural or hypothetical,” as required to establish Article III

                                  24   standing.

                                  25          However, Cisco attempts to fill in any evidentiary gap by pointing to alleged

                                  26   spoliation by Chung.

                                  27   Evidentiary sanctions for alleged spoliation

                                  28          As mentioned above, Cisco has filed two motions for spoliation sanctions – one
                                                                                       6
                                       Case 4:19-cv-07562-PJH        Document 379       Filed 03/22/23     Page 7 of 24




                                  1    against Chung and Poly (Dkt. 230), and one against only Poly (Dkt. 233).2

                                  2           In Cisco’s first motion, it argues that Chung retained a Macbook laptop with Cisco

                                  3    information on it, and that he deleted data on the Macbook and on ‘cloud’ accounts

                                  4    (iCloud and Google Drive) before turning the laptop over to a third-party forensics firm.

                                  5    See Dkt. 230. Cisco highlights that Chung deleted 269 gigabytes of data, over three

                                  6    hundred thousand files from his iCloud account, and at least one hundred files from his

                                  7    Google Drive account. Id. at 14-15. Cisco further argues that Poly ratified Chung’s

                                  8    conduct by failing to investigate or respond to it. Id. at 20-23.

                                  9           Cisco’s second sanctions motion relates to certain “audit logs” that were not

                                  10   retained by Poly. See Dkt. 233. The audit logs show when files on Poly’s “Sharepoint”

                                  11   file-sharing system were accessed by Poly employees, and Cisco argues that Poly acted

                                  12   improperly by failing to extend the automatic 90-day deletion schedule for the audit logs.
Northern District of California
 United States District Court




                                  13   Id. at 9-12.

                                  14          The legal standard for spoliation sanctions is provided by Federal Rule of Civil

                                  15   Procedure 37(e), which states:

                                  16          If electronically stored information that should have been preserved in the
                                              anticipation or conduct of litigation is lost because a party failed to take reasonable
                                  17          steps to preserve it, and it cannot be restored or replaced through additional
                                              discovery, the court:
                                  18
                                                      (1) upon finding prejudice to another party from loss of the information, may
                                  19
                                                      order measures no greater than necessary to cure the prejudice; or
                                  20
                                                      (2) only upon finding that the party acted with the intent to deprive another
                                  21                  party of the information’s use in the litigation may:

                                  22                         (A) presume that the lost information was unfavorable to the party;
                                  23                         (B) instruct the jury that it may or must presume the information was
                                                             unfavorable to the party; or
                                  24
                                                             (C) dismiss the action or enter a default judgment.
                                  25

                                  26          Cisco’s argument focuses on the large number of files deleted by Chung, pointing

                                  27
                                       2
                                  28    Poly has filed motions for leave to file sur-replies in connection with both sanctions
                                       motions. See Dkt. 285, 286. Poly’s motions are DENIED.
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                                       Case 4:19-cv-07562-PJH        Document 379        Filed 03/22/23   Page 8 of 24




                                  1    to the “269 gigabytes of data” that was deleted from the Macbook, or the “hundreds of

                                  2    thousands” of documents that were removed from the iCloud account. Dkt. 230 at 14-15.

                                  3    But Cisco does not provide specifics on how much of this data actually encompassed

                                  4    Cisco trade secret information, relying on the vague term “numerous.” This is the exact

                                  5    passage in Cisco’s brief:

                                  6           The same day that he received Cisco’s October 11 letter, Dr. Chung began
                                              a mass deletion campaign to destroy evidence of his misappropriation,
                                  7           deleting: (1) 269 gigabytes of data from the MacBook; (2) hundreds of
                                              thousands of files from his iCloud account; and (3) numerous files and
                                  8           folders from his Google Drive account. Dr. Chung’s deletions included
                                  9           numerous files specifically referencing Projects Sunkist and Polaris. (See,
                                              e.g., id., ¶ 56 (identifying deletion of the EA Document and “Polaris ID Arrk
                                  10          Prototype 01.pptx” (Ex. BO) from the MacBook); ¶ 79 (identifying deletion of
                                              “CVTG_Polaris_ConceptCommit.pptx” and “Polaris-Block-Diagrams-04.pdf”
                                  11          from the iCloud account).)
                                  12   Dkt. 310 at 16-17 (emphasis added).
Northern District of California
 United States District Court




                                  13          The above excerpt identifies a total of four (4) Sunkist and Polaris files that were

                                  14   included in Chung’s deletions.

                                  15          But even more important than the amount of deleted Cisco information is the

                                  16   significance of any deleted information. Cisco argues that Chung “irretrievably destroyed

                                  17   critical metadata about his use of Cisco’s trade secrets at Poly.” Dkt. 230 at 18.

                                  18   Specifically, Cisco claims that the deleted data “would have shown the extent to which he

                                  19   accessed and used the Cisco confidential files he misappropriated while employed at

                                  20   Poly.” Id. at 19.

                                  21          However, even if the metadata showing Chung’s access was “irretrievably” deleted

                                  22   from the Macbook laptop, any data showing Poly’s use of any Sunkist or Polaris

                                  23   information would still be on Poly’s systems, which were not part of Chung’s deletions.

                                  24   Other than the Sharepoint audit logs, which will be discussed below, there is no

                                  25   allegation that Poly’s own data was ever spoliated. In the court’s view, Cisco does not

                                  26   have a substantive rebuttal for Poly’s argument that “[t]he allegedly spoliated metadata

                                  27   could not show if Dr. Chung shared any document with others at Poly, or if anyone else

                                  28   at Poly did anything with any document.” Dkt. 333 at 15.
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                                       Case 4:19-cv-07562-PJH         Document 379        Filed 03/22/23    Page 9 of 24




                                  1           Even in Cisco’s telling, “Chung’s mass-deletion of evidence of the Macbook

                                  2    destroyed evidence that would have shown the extent to which he used the trade secret

                                  3    information on that computer while at Poly” and “the extent to which he had accessed

                                  4    those files while at Poly.” Dkt. 310 at 26 (emphasis added).

                                  5           Turning to the Sharepoint audit logs, those logs would show only the extent to

                                  6    which other Poly employees viewed the EA document. Any evidence of actual use

                                  7    constituting an injury to Cisco – i.e., any utilization of that information for business

                                  8    advantage – would still be on Poly’s systems, as there are no allegations that anything

                                  9    other than the audit logs were spoliated. In other words, Cisco has had a full opportunity

                                  10   to discover unspoliated evidence from Poly’s systems that would have shown if Poly used

                                  11   the alleged trade secrets, and after years of discovery, Cisco has failed to uncover any

                                  12   such evidence. Further below in this order, in the context of Cisco’s damages claims, the
Northern District of California
 United States District Court




                                  13   court will further discuss the evidentiary showing regarding Poly’s alleged “use” of the

                                  14   trade secrets.

                                  15          In short, because the deleted data would have shown only when Chung accessed

                                  16   the files, rather than showing any currently-ongoing threat of misappropriation, there is no

                                  17   actual, material prejudice to Cisco resulting from any alleged spoliation. Thus, because

                                  18   Rule 37(e)(1) provides for sanctions only upon a finding of prejudice, the court concludes

                                  19   that sanctions are not warranted under Rule 37(e)(1).

                                  20          Rule 37(e)(2) separately allows the court to order sanctions upon a finding that a

                                  21   party acted with the intent to deprive another party of the information’s use in the

                                  22   litigation, and does not appear to expressly require a showing of prejudice. However,

                                  23   even assuming that Chung acted with the intent to deprive Cisco of the information’s use

                                  24   in the litigation, the court concludes, for the reasons explained above, that the information

                                  25   would have shown only the extent of Chung’s access of the files, and that Cisco has not

                                  26   been deprived of the information regarding any ultimate use of the information by Poly or

                                  27   any ongoing threat of misappropriation, and thus, sanctions are not warranted. For those

                                  28   reasons, Cisco’s motions for evidentiary sanctions are DENIED.
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                                       Case 4:19-cv-07562-PJH         Document 379          Filed 03/22/23   Page 10 of 24




                                  1           Turning back to the standing issue, Cisco appears to be relying on speculation that

                                  2    Chung has not only shared Polaris trade secrets in the past but may also do so in the

                                  3    future. But again, even taking into account any possible spoliation, if Polaris documents

                                  4    had indeed been shared, there would be evidence on Poly’s systems – and there being

                                  5    none in the record, Cisco cannot simply seek to fill in the blanks with speculation.

                                  6           Cisco’s theory strikes the court as similar to the theory of “inevitable disclosure”

                                  7    that has been rejected by courts in this district, and which Cisco concedes is not good

                                  8    law. See Dkt. 301 at 23, fn. 13. The ”inevitable disclosure” doctrine is the idea that “a

                                  9    plaintiff may prove a claim of threatened misappropriation of a trade secret by

                                  10   demonstrating that a former employee's new employment will inevitably lead him to rely

                                  11   on plaintiff's trade secret.” Bayer Corp. v. Roche Molecular Sys., Inc., 72 F.Supp.2d

                                  12   1111, 1118 (N.D. Cal. 1999). As Cisco concedes, the Bayer court held that “California
Northern District of California
 United States District Court




                                  13   trade-secrets law does not recognize the theory of inevitable disclosure; indeed, such a

                                  14   rule would run counter to the strong public policy in California favoring employee mobility.

                                  15   A trade-secrets plaintiff must show an actual use or an actual threat.” Id. at 1120.

                                  16          In the court’s view, for the reasons stated above, Cisco has presented only

                                  17   “allegations of possible future injury,” rather than evidence of a “threatened injury” that is

                                  18   “certainly impending to constitute injury in fact.” Clapper, 568 U.S. at 409. Accordingly,

                                  19   the court concludes that Cisco cannot establish standing to seek an injunction against

                                  20   Chung. Because injunctive relief is the only remedy sought against Chung, Chung’s

                                  21   motion for summary judgment is GRANTED as to all claims asserted against him.

                                  22                 b.      Standing to seek injunctive relief as to Poly

                                  23          As with Chung, Cisco seeks injunctive relief against Poly as to only the Polaris-

                                  24   related information, not the Sunkist-related information. Dkt. 371 at 69:4-6. And as with

                                  25   Chung, Cisco must demonstrate standing to seek injunctive relief as to Poly, which

                                  26   entails showing a threat of injury that is actual and imminent, and “certainly impending to

                                  27   constitute injury in fact,” while “allegations of possible future injury are not sufficient.”

                                  28   See, e.g., Summers, 555 U.S. at 493; Clapper, 568 U.S. at 409.
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                                       Case 4:19-cv-07562-PJH       Document 379          Filed 03/22/23   Page 11 of 24




                                  1           Cisco’s argument for standing as to Poly suffers from the same shortcomings as

                                  2    its argument for standing as to Chung. Specifically, even taking into account any alleged

                                  3    spoliation, Cisco has not presented evidence of an actual or imminent threat that Poly will

                                  4    misappropriate any Polaris-related trade secrets. According to Cisco’s own damages

                                  5    expert, there is no evidence that Poly ever used Polaris documents or had them in its

                                  6    possession at any time, let alone evidence that the Polaris documents remain in Poly’s

                                  7    possession as of now. Dkt. 242 at 13 (citing Ex. 31 at ¶ 47). In fact, Cisco’s damages

                                  8    expert set April 2020 as the end-date for any Polaris-related damages, as that is the date

                                  9    when Cisco released their product containing the Polaris information. See Dkt. 332 at 15

                                  10   (citing Persechini damages report, ¶ 203).

                                  11          Accordingly, the court has no basis for finding that Cisco has Article III standing to

                                  12   seek an injunction as to Poly and the Polaris documents, and thus, the court GRANTS
Northern District of California
 United States District Court




                                  13   Poly’s motion for summary judgment as to the request for injunctive relief.

                                  14          2.     Poly’s motion for summary judgment re damages

                                  15          Having concluded that Cisco does not have standing to seek injunctive relief as to

                                  16   either defendant, the court will now analyze Cisco’s claims against Poly for damages.

                                  17          As an initial matter, the Ninth Circuit has made clear that federal and state trade

                                  18   secret claims can be analyzed together “because the elements are substantially similar.”

                                  19   InteliClear, LLC v. ETC Global Holdings, Inc., 978 F.3d 653, 657 (9th Cir. 2020). To

                                  20   succeed on a claim under either the DTSA or the CUTSA, a plaintiff must show that (1) it

                                  21   possessed a trade secret, (2) the defendant misappropriated the trade secret, and (3) the

                                  22   plaintiff suffered damages as a result. Alta Devices, Inc. v. LG Elecs., Inc., 343

                                  23   F.Supp.3d 868, 877 (N.D. Cal. 2018) (citing 18 U.S.C. § 1839(5); Cal. Civ. Code §

                                  24   3426.1(b)). “Misappropriation” means either the “(1) [a]cquisition of a trade secret by

                                  25   another person who knows or has reason to know that the trade secret was acquired by

                                  26   improper means;” or the “(2) [d]isclosure or use of a trade secret of another without

                                  27   express or implied consent.” Id.

                                  28          Three types of damages are available to trade secret plaintiffs: (1) lost profits, (2)
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                                       Case 4:19-cv-07562-PJH        Document 379          Filed 03/22/23   Page 12 of 24




                                  1    unjust enrichment, and (3) reasonable royalties. See 18 U.S.C. § 1836(b)(3)(B); Cal. Civ.

                                  2    Code § 3426.3. In this case, Cisco is not pursuing damages under a lost profits or unjust

                                  3    enrichment theory, it is seeking only reasonable royalty damages. See Dkt. 310 at 46.

                                  4           Poly argues in its motion, and Cisco concedes in its opposition brief, that, to

                                  5    receive reasonable royalty damages, federal trade secret law requires it to show either

                                  6    “disclosure” or “use,” i.e., “acquisition” is not sufficient. See Dkt. 310 at 45 (citing 18

                                  7    U.S.C. § 1836(b)(3)(B)(ii)). Under California trade secret law, Cisco must show “use,”

                                  8    neither “acquisition” nor “disclosure” are sufficient for reasonable royalty damages. Id.

                                  9    (citing Cal. Civ. Code § 3426.3(b)). Thus, under either federal or state law, in order to

                                  10   receive reasonable royalty damages, it is not enough to show that Poly simply “acquired”

                                  11   the trade secrets.

                                  12          As another threshold matter, the parties dispute the proper scope of the Sunkist-
Northern District of California
 United States District Court




                                  13   related trade secret information. Poly argues that Cisco limited its trade secret disclosure

                                  14   to a single document, referred to as the “EA document” (for “endpoints and accessories”).

                                  15   Dkt. 261 at 27. Cisco argues that the trade secret includes not only the EA document but

                                  16   also an email that was sent from Chung to other Poly employees on June 4, 2019. Dkt.

                                  17   310 at 20. Poly argues that the June 4 email must be treated as separate from the EA

                                  18   document, especially given that some of the Sunkist-related information in the email is

                                  19   directly contradicted by the information in the EA document. Dkt. 261 at 30-31. For

                                  20   purposes of evaluating Poly’s motion for summary judgment, the court will construe the

                                  21   evidence in a light favorable to Cisco, the non-moving party, and will treat the June 4

                                  22   email as part of the relevant trade secret.

                                  23                 a.      Disclosure

                                  24          The key issue here is whether “disclosure” must be to a third party. The trade

                                  25   secret statutes do not specifically set forth such a requirement, but Poly cites multiple

                                  26   courts in this district that have concluded that “disclosure” must indeed be to a third party.

                                  27   See Palantir Techs. Inc. v. Abramowitz, 2022 WL 2952578 (N.D. Cal. July 26, 2022);

                                  28   Netlist, Inc. v. SMART Storage Systems, Inc., 2014 WL 4380760 (N.D. Cal. Sept. 4,
                                                                                      12
                                       Case 4:19-cv-07562-PJH        Document 379         Filed 03/22/23   Page 13 of 24




                                  1    2014); MedioStream, Inc. v. Microsoft Corp., 869 F.Supp.2d 1095 (N.D. Cal. 2012).

                                  2           The court finds the cases cited by Poly to be persuasive. The alternative view

                                  3    would allow for an alleged misappropriator to be sued for disclosing a trade secret to

                                  4    himself. Accordingly, because Cisco does not present evidence that Poly disclosed any

                                  5    trade secrets to a third party, the court concludes that Cisco cannot raise a triable issue

                                  6    as to whether Poly “disclosed” the trade secrets under the meaning of either the federal

                                  7    or state trade secret statutes. Thus, in order to succeed on its damages claims, Cisco

                                  8    must show that Poly “used” the alleged trade secrets.

                                  9                  b.     Use

                                  10          The key dispute here is what qualifies as “use” under the trade secret statutes.

                                  11   Poly cites the Ninth Circuit as holding that, to “use” a trade secret, a defendant “must

                                  12   have actually put the trade secret to some commercial use.” JustMed, Inc. v. Byce, 600
Northern District of California
 United States District Court




                                  13   F.3d 1118, 1130 (9th Cir. 2010). That court further held that “to sustain a trade secrets

                                  14   action under the ‘use’ prong of the statutory definition of ‘misappropriation,’ a plaintiff

                                  15   must necessarily demonstrate that the defendant received some sort of unfair trade

                                  16   advantage.” Id.

                                  17          Poly argues that “use” is properly defined to include “employing the confidential

                                  18   information in manufacturing, production, research or development, marketing goods that

                                  19   embody the trade secret, or soliciting customers through the use of trade secret

                                  20   information.” BladeRoom Group Ltd. v. Facebook Inc., 2018 WL 514923, at *9 (N.D. Cal.

                                  21   Jan. 23, 2018) (citing PMC, Inc. v. Kadisha, 78 Cal.App.4th 1368, 1383 (2000)). Poly

                                  22   summarizes its argument on use here:

                                  23          The undisputed evidence conclusively shows that Poly never used any of
                                              Cisco’s claimed Sunkist or Polaris trade secrets. Indeed, Cisco’s experts
                                  24          concede that Poly did not incorporate any supposed Cisco trade secrets
                                              into any Poly products. Remarkably, Cisco’s product development expert,
                                  25          Mr. Ball, does not even mention, much less analyze, any Poly products in
                                  26          his report. Nor does Mr. Ball make any attempt to argue that Poly acted on
                                              early knowledge of Sunkist or Polaris in any other way by, for example, pre-
                                  27          announcing a competing product, altering its own product development
                                              plans, or changing its marketing strategy. Cisco’s corporate representative
                                  28          and other witnesses also could not point to any evidence of Poly using
                                                                                     13
                                       Case 4:19-cv-07562-PJH       Document 379         Filed 03/22/23   Page 14 of 24




                                              Cisco’s alleged trade secrets.
                                  1
                                       Dkt. 261 at 33.
                                  2
                                              Cisco, in contrast, relies on cases holding that “nothing in the [C]UTSA requires
                                  3
                                       that the defendant gain any advantage from the disclosure; it is sufficient to show 'use' by
                                  4
                                       disclosure of a trade secret with actual or constructive knowledge that the secret was
                                  5
                                       acquired under circumstances giving rise to a duty to maintain its secrecy.” AT&T
                                  6
                                       Comm. v. Pacific Bell, 1998 U.S. Dist. LEXIS 13459 at *7 (citing Religious Technology
                                  7
                                       Center v. Netcom On-Line Communication Services, Inc., 923 F. Supp. 1231, 1257 (N.D.
                                  8
                                       Cal. 1995)). Cisco argues that Poly “used” the Sunkist information through its receipt of
                                  9
                                       Sunkist information in the June 4 email, and the general impact it had on Poly’s planning
                                  10
                                       in the headset market. Dkt. 310 at 27-28.
                                  11
                                              The cases cited by Cisco, AT&T and Religious Tech. Center, are district court
                                  12
Northern District of California
 United States District Court




                                       cases that predate the Ninth Circuit opinion in JustMed. Therefore, in the court’s view,
                                  13
                                       the “unfair trade advantage” rule of JustMed should be applied, rather than the contrary
                                  14
                                       rule that was previously applied by the two district courts.
                                  15
                                              Cisco does cite a more recent case with an expansive definition of “use,” Business
                                  16
                                       Solutions LLC v. Gantara, 2020 WL 1279209 (C.D. Cal. Jan. 22, 2020). While this case
                                  17
                                       was decided after JustMed, it does not cite JustMed, instead citing a 2010 state appeals
                                  18
                                       court case holding that “a person uses a trade secret when they directly employ the trade
                                  19
                                       secret for any purpose.” See Business Solutions at *6 (citing Silvaco Data Sys. v. Intel
                                  20
                                       Corp., 184 Cal.App.4th 210, 222 (2010)).
                                  21
                                              In addition to JustMed, Poly cites other cases from this district and others in the
                                  22
                                       circuit that follow the JustMed view and require a plaintiff to show that a defendant
                                  23
                                       received an “unfair trade advantage” from any misappropriation. See, e.g., Payward, Inc.
                                  24
                                       v. Runyon, 2021 WL 242903 (N.D. Cal. Jan. 25, 2021); Bartech Sys. Int’l, Inc. v. Mobile
                                  25
                                       Simple Sales Solutions, Inc., 2016 WL 3002371 (D. Nev. May 24, 2016).
                                  26
                                              Overall, the JustMed case appears to be precedential, and Cisco has not provided
                                  27
                                       the court with a basis to find otherwise. Thus, the court will analyze whether Cisco has
                                  28
                                                                                    14
                                       Case 4:19-cv-07562-PJH       Document 379         Filed 03/22/23   Page 15 of 24




                                  1    presented evidence that Poly received an “unfair trade advantage” as a result of the

                                  2    Sunkist information.

                                  3           In its brief, Cisco endeavors to describe how Poly “used” the alleged trade secrets,

                                  4    but its descriptions consist of vague generalities. This is how Cisco describes the alleged

                                  5    “use” by Poly:

                                  6           Poly accessed, analyzed, and proliferated the information to purposefully
                                              signal Cisco's emergence as a more significant competitor, thereby robbing
                                  7           Cisco of its exclusive right to control the dissemination of its Sunkist launch
                                              plans and prevent competitors from anticipating its market entry.
                                  8           …
                                  9           [T]he record indicates Poly gained an ‘unfair trade advantage’ through its
                                              exploitation of the Sunkist product development plan, which Cisco
                                  10          maintained a secret, to enhance its competitive intelligence efforts.

                                  11   Dkt. 310 at 28.

                                  12          Cisco is similarly vague in the introduction to the same brief, summarizing its “use”
Northern District of California
 United States District Court




                                  13   argument as follows:

                                  14          Regarding use, Poly’s employees used Cisco’s trade secrets to do their
                                              jobs. For example, Dr. Chung and the many Poly employees who
                                  15          disseminated or received the Project Sunkist trade secret information use
                                              that information to inform Poly’s competitive strategies, and their comments
                                  16          and testimony indicate Poly valued that critical information that could not
                                              been acquired through public sources.
                                  17
                                       Dkt. 310 at 8.
                                  18
                                       A similar example of Cisco trying to describe the advantage gained by Poly:
                                  19
                                              Poly received actual value from the Sunkist product development plan
                                  20          because that information signaled Cisco's emergence as a more significant
                                              competitor in the headset space.
                                  21
                                       Dkt. 310 at 39.
                                  22
                                              Reading these passages, the court cannot identify any unfair trade advantage that
                                  23
                                       Poly received. Cisco also relies on speculation in describing any harm that it suffered:
                                  24
                                              For example, disclosure of the Sunkist product development plans to
                                  25          competitors would allow those competitors to impair Cisco's ability to
                                              successfully launch the product – e.g. by interfering with Cisco supply
                                  26          chain, or by pre-announcing a competing product.
                                  27   Dkt. 310 at 41.
                                  28          If Poly had actually taken those actions – e.g., interfered with the supply chain,
                                                                                    15
                                       Case 4:19-cv-07562-PJH        Document 379         Filed 03/22/23   Page 16 of 24




                                  1    pre-announced a competing product – that could constitute an unfair trade advantage,

                                  2    but speculation about possible use is not the same as evidence of actual use.

                                  3           Poly argues that the evidence of “use” in this case is similar to that in a case from

                                  4    the Eastern District of California involving software for the health insurance business.

                                  5    See Agency Solutions.com, LLC v. TriZetto Group, Inc., 819 F.Supp.2d 1001 (E.D. Cal.

                                  6    2011). The plaintiff claimed that the defendant had improperly used its trade secret,

                                  7    which came in the form of a high-level document describing a software process, which

                                  8    “reveals no source code but does specify software requirements, how it is accessed, and

                                  9    describes the data elements” of the software process.” Id. at 1023. The plaintiff argued

                                  10   that the trade secret was given to defendant “not for the purpose of providing specific

                                  11   information to be incorporated into [defendant’s] programming, but for background

                                  12   information on how they (plaintiff) carry out a function that can be assumed to be carried
Northern District of California
 United States District Court




                                  13   out in similar, though not identical, ways by other companies in the business.” Id. at

                                  14   1024. The court concluded that the document, “even if it qualifies as a trade secret itself,

                                  15   does not appear to have been used by [defendant].” Id. (emphasis in original). “At

                                  16   maximum, [plaintiff] alleges that the [] document helped [defendant] to understand how a

                                  17   sales automation application such as [plaintiff’s] works,” which “falls far short of alleging

                                  18   that [defendant] actually used, much less embodied, the information in the [] document

                                  19   into any program or description.” Id. (emphasis added). This strikes the court as similar

                                  20   to the supposed ‘advantage’ that Poly gained in this case – the general knowledge that

                                  21   Cisco would be making more of an effort to compete in the headset market. On that

                                  22   point, the court finds the reasoning of Agency Solutions.com to be persuasive, and

                                  23   similarly concludes that such general knowledge of business plans, without more, is not

                                  24   enough to constitute “use” of a trade secret.

                                  25          Here, as before, Cisco seeks to bridge any evidentiary gap by pointing to the

                                  26   alleged evidentiary spoliation. Specifically, Cisco argues that evidence of Poly’s “use”

                                  27   was spoliated by either the deletion of the files on Chung’s Macbook or of the Sharepoint

                                  28   audit logs. However, as discussed in the context of Cisco’s claims for injunctive relief,
                                                                                     16
                                       Case 4:19-cv-07562-PJH        Document 379          Filed 03/22/23   Page 17 of 24




                                  1    the allegedly-spoliated data would have shown only the extent to which certain files were

                                  2    accessed by Chung or Sharepoint users. Any evidence of actual “use” by Poly – i.e., the

                                  3    type of use that would give rise to an unfair trade advantage – would have still been on

                                  4    Poly’s systems, and Cisco has had a full opportunity to take discovery regarding those

                                  5    systems. Cisco cannot point to alleged spoliation as a means of avoiding its burden to

                                  6    raise a triable issue of fact as to Poly’s “use.”

                                  7           Thus, the court concludes that Cisco has failed to raise a triable issue of fact as to

                                  8    Poly’s own use or disclosure of any trade secret information. The court will now assess

                                  9    whether Cisco has raised a triable issue of fact as to whether Poly is liable for any

                                  10   alleged disclosure or use by another party; specifically, Cisco argues that Poly is liable for

                                  11   the conduct of Chung via a ratification theory, and also argues that Poly is liable for the

                                  12   conduct of Chung and He via a vicarious liability theory.
Northern District of California
 United States District Court




                                  13                 c.      Ratification

                                  14          Ratification “is generally applied where an employer fails to investigate or respond

                                  15   to charges that an employee committed an intentional tort.” C.R. v. Tenet Healthcare

                                  16   Corp., 169 Cal.App.4th 1094, 1110 (2009).

                                  17          Cisco acknowledges that Poly did indeed investigate Chung, but it now claims that

                                  18   certain aspects of the investigation were deficient, and its overarching argument is that

                                  19   “Poly’s myopic approach limited its inquiry to responding only to specific concerns that

                                  20   Cisco identified rather than taking Cisco’s concerns and conducting a fulsome

                                  21   investigation.” Dkt. 310 at 30.

                                  22          There are two flaws in Cisco’s argument. First, the sequence of events

                                  23   surrounding Poly’s investigation directly contradicts Cisco’s characterization. According

                                  24   to the undisputed evidence in the record, Cisco initially contacted Poly about potential

                                  25   misappropriation by James He, and when Poly initiated an investigation into He, it

                                  26   decided on its own to expand the scope of the investigation to include Chung. See Dkt.

                                  27   261, Ex. 34. 36. If Poly had truly sought to limit its inquiry and avoid a fulsome

                                  28   investigation, it would not have voluntarily expanded the scope of its investigation to
                                                                                      17
                                       Case 4:19-cv-07562-PJH       Document 379         Filed 03/22/23   Page 18 of 24




                                  1    include Chung. Second, even if Poly had confined its investigation to the parameters

                                  2    defined by Cisco, it is not clear that Poly would have acted improperly by doing so. Cisco

                                  3    was in the best position to determine which of its trade secrets had allegedly been

                                  4    misappropriated, so it seems reasonable for Poly to be responsive to Cisco’s

                                  5    characterization of the scope of the needed investigation. To that end, when Cisco

                                  6    eventually did alert Poly to potential misappropriation by Chung, Poly preserved Chung’s

                                  7    laptop and phone and sent them to a third-party forensics firm where searches were run

                                  8    at Cisco’s request. See Dkt. 261 at 21-23. The record further indicates that Cisco

                                  9    thanked Poly for its cooperation and expressed appreciation for its efforts. See, e.g., Dkt.

                                  10   261, Ex. 77. On these facts, the court cannot find that Cisco raised a triable issue as to

                                  11   whether Poly “failed to investigate or respond” to the complaints of potential trade secret

                                  12   misappropriation.
Northern District of California
 United States District Court




                                  13          Accordingly, for the reasons set forth above, the court concludes that there is no

                                  14   triable issue of fact as to whether Poly ratified Chung’s conduct.

                                  15                 d.     Vicarious liability

                                  16          To succeed on this theory, Cisco needs to show that Chung or He were acting in

                                  17   the scope of their employment when they misappropriated trade secrets. See, e.g.,

                                  18   Citcon USA v. RiverPay Inc., 2019 WL 917056, at *5-6 (N.D. Cal. Feb. 25, 2019); Duste

                                  19   v. Chevron Prods. Co., 738 F.Supp.2d 1027, 1044 (N.D. Cal. 2010).

                                  20          Starting with He, Cisco is not clear in specifying exactly what conduct of He’s is

                                  21   relevant to this claim against Poly. Poly’s opening motion suggests that Cisco had been

                                  22   claiming that He’s downloading of files was conduct for which Poly was vicariously liable,

                                  23   but in Cisco’s opposition, it appears to have narrowed its He-related claims to the single

                                  24   act of He’s receipt of Chung’s June 4 email. See Dkt. 310 at 33-34. Cisco argues that

                                  25   He improperly acquired trade secret information via that email, and that Poly is

                                  26   vicariously liable for He’s improper acquisition. However, as mentioned above, to prove a

                                  27   right to reasonable royalty damages, it is not enough for Cisco to show acquisition – it

                                  28   must show disclosure or use. Thus, any vicarious liability for acquisition is irrelevant, and
                                                                                    18
                                       Case 4:19-cv-07562-PJH        Document 379          Filed 03/22/23   Page 19 of 24




                                  1    as a result, any vicarious liability allegations related to He are irrelevant. Therefore, the

                                  2    court’s analysis of vicarious liability is limited to whether Poly is vicariously liable for any

                                  3    disclosure or use by Chung.

                                  4           As to Chung, Cisco argues that Chung’s actions were intended to benefit Poly.

                                  5    But this argument is belied by the sequence of events surrounding the investigation,

                                  6    which was voluntarily widened by Poly to include not just He, but also Chung. If Chung

                                  7    was acting at Poly’s behest, there would have been no reason for Poly to be proactive

                                  8    about the investigation and widen its scope beyond just the single individual that Cisco

                                  9    had identified. Just as this sequence of events undermines Cisco’s arguments regarding

                                  10   ratification, so too it undermines Cisco’s arguments regarding vicarious liability. Simply

                                  11   put, if Chung was acting for Poly’s benefit, why would Poly voluntarily investigate him,

                                  12   place a litigation hold on his data, and place him on administrative leave?
Northern District of California
 United States District Court




                                  13          The main case cited by Cisco is SolarCity Corp. v. Pure Solar Co., 2016 WL

                                  14   11011989 (C.D. Cal. Dec. 27, 2016), but the court in that case found that, even after the

                                  15   defendant-employer was notified of potential trade secret misappropriation, it continued

                                  16   to use the misappropriated information. As discussed above, Cisco has not presented

                                  17   any evidence of Poly’s use, let alone continued use after it was notified of potential

                                  18   misappropriation.

                                  19          Thus, the court concludes that Cisco has not raised a triable issue of fact as to

                                  20   Poly’s vicarious liability for the acts of Chung or He.

                                  21          Because Cisco has not raised a triable issue of fact as to Poly’s disclosure or use

                                  22   of the alleged trade secrets – either for its own conduct, or under a ratification theory or a

                                  23   vicarious liability theory – the court concludes that Poly’s motion for summary judgment

                                  24   must be GRANTED as to Cisco’s claims for damages.

                                  25                 e.      “Knew or had reason to know”

                                  26          Even if Cisco were able to raise a triable issue as to Poly’s disclosure or use, it

                                  27   must also show that any such disclosure/use was made when Poly knew or had reason

                                  28   to know that the information was either (1) obtained by improper means, (2) subject to a
                                                                                      19
                                       Case 4:19-cv-07562-PJH        Document 379         Filed 03/22/23   Page 20 of 24




                                  1    duty to maintain its secrecy or limit its use. See 18 U.S.C. § 1839(5)(B); Cal. Civ. Code §

                                  2    3426(b)(2)(A). “Improper means . . . includes theft, bribery, misrepresentation, breach or

                                  3    inducement of a breach of a duty to maintain secrecy, or espionage through electronic or

                                  4    other means.” 18 U.S.C. § 1839(6); Cal. Civ. Code § 3426(a).

                                  5           Poly argues that, at the time it received the June 4 email, it had no reason to know

                                  6    that the Sunkist-related information was obtained by improper means or subject to a duty

                                  7    to maintain its secrecy or limit its use. Poly argues that, “on its face, the high-level

                                  8    information in the email would not have appeared to be a trade secret, let alone

                                  9    confidential, and Cisco can cite to no evidence that Poly had reason to know it contained

                                  10   information that had been improperly acquired.” Dkt. 261 at 32

                                  11          Rather than providing any specific reason why Poly would have known that the

                                  12   June 4 email had secret information, Cisco instead relies on general principles of
Northern District of California
 United States District Court




                                  13   employee confidentiality. Cisco does not directly answer the question of how Poly would

                                  14   have known that the specific information in the June 4 email was obtained by improper

                                  15   means. Cisco instead cites to general, boilerplate language about the obligation of

                                  16   employees to not reveal their former employees’ confidential information:

                                  17          No doubt exists that Poly was aware of Dr. Chung's confidentiality
                                              obligations to his former employer Cisco. Poly knew that proprietary
                                  18          information agreements like the one Dr. Chung had with Cisco are common
                                              in the industry. . . Additionally, Poly’s code of business conduct provides:
                                  19          ‘Poly does employ former employees of competitors, we recognize and
                                  20          respect the obligations of those associates not to use or disclose the
                                              confidential information of their former employers.’ In view of these facts,
                                  21          Poly knew or should have known that Dr. Chung owed a duty to Cisco to
                                              maintain the secrecy of the Sunkist product development plan.
                                  22
                                       Dkt. 310 at 28.
                                  23
                                              In the court’s reading, Cisco’s conclusion does not follow from its premises. Poly
                                  24
                                       was presumably aware that Dr. Chung was bound by certain Cisco confidentiality
                                  25
                                       provisions, but that is different from asking whether Poly would have known, from the
                                  26
                                       face of the June 4 email, that the information contained in that email was obtained by
                                  27
                                       improper means. Cisco’s general citations to confidentiality agreements and industry
                                  28
                                                                                     20
                                       Case 4:19-cv-07562-PJH       Document 379        Filed 03/22/23   Page 21 of 24




                                  1    practice do not provide any specific reason why Poly knew or should have known

                                  2    specifically that the June 4 email contained improperly-obtained information.

                                  3          In fact, one of Cisco’s arguments actually undermines its own point. It argues that

                                  4    Chung’s role at Poly was to provide “competitive intelligence” about Cisco. Dkt. 310 at

                                  5    25. Cisco provides multiple citations to exhibits where Chung spoke about Cisco

                                  6    products to Poly employees. See id. However, Cisco does not appear to be claiming

                                  7    that any of the information in those exhibits was a trade secret. In other words, it appears

                                  8    that it was common for Chung, in his role at Poly, to discuss Cisco products and provide

                                  9    insight from his experience at Cisco, without revealing trade secrets. Given those facts,

                                  10   the court is unable to find support for Cisco’s argument that Chung’s June 4 email would

                                  11   have stood out to its recipients at Poly as containing misappropriated information.

                                  12         Moreover, the evidence shows that Cisco began announcing the Sunkist product
Northern District of California
 United States District Court




                                  13   during the same approximate timeframe as the June 4 email. Poly has submitted

                                  14   evidence that Cisco announced the product at a “Cisco Live” event between June 9-13,

                                  15   2019. See Dkt. 261, Ex. 84. Cisco is non-committal about when the product became

                                  16   known to the public, stating only that the product was officially announced in November

                                  17   2019, without acknowledging the evidence that it was unofficially announced earlier than

                                  18   that. Dkt. 310 at 37.

                                  19         For instance, Poly provides an email thread including slides of the Sunkist product

                                  20   and a Cisco employee stating that “the new headsets were on display at our Annual

                                  21   Sales Event in Las Vegas.” See Dkt. 261, Ex. 30 at 3. The email was sent in August

                                  22   2019, but it is unclear when the Las Vegas event was (though the verb tense suggests it

                                  23   was before the email). In the same August 2019 email thread, a Cisco employee informs

                                  24   recipients outside Cisco of the impending Sunkist product release “around Dec/Jan

                                  25   timeframe” – in other words, Cisco employees were informing non-Cisco employees

                                  26   about an unreleased product, which undermines Cisco’s argument that any discussion of

                                  27   an unreleased product should automatically cause the listener to “know or have reason to

                                  28   know” that they have received trade secret-protectable information.
                                                                                   21
                                       Case 4:19-cv-07562-PJH        Document 379        Filed 03/22/23   Page 22 of 24




                                  1           Overall, the court need not – and in fact, cannot, given the conflicting evidence –

                                  2    definitively resolve when the Sunkist product became public, but even if the evidence is

                                  3    construed in Cisco’s favor, it seems clear that, by the time Poly had notice of potential

                                  4    wrongdoing by Chung, Cisco was already in the process of informing the public about its

                                  5    new product. The imminence of Cisco’s public announcement provides a further basis

                                  6    for concluding that Cisco has not presented evidence that Poly knew or had reason to

                                  7    know that the Sunkist information was obtained by improper means or subject to a duty of

                                  8    secrecy.

                                  9           Thus, because Cisco has not raised a triable issue of fact as to whether Poly knew

                                  10   or should have known that the information in the June 4 email was improperly acquired or

                                  11   subject to a duty of secrecy, that provides an independent basis for GRANTING Poly’s

                                  12   motion for summary judgment
Northern District of California
 United States District Court




                                  13          The court need not – and does not – reach Poly’s two remaining arguments, that

                                  14   Cisco failed to take reasonable steps to protect its trade secrets, or that the alleged trade

                                  15   secrets have no independent economic value.

                                  16                 f.     Proof of damages

                                  17          For the same reasons that Cisco cannot establish a triable issue as to “use,” it also

                                  18   cannot establish a triable issue as to the damages element of a trade secret claim. In

                                  19   other words, the lack of an ‘unfair trade advantage’ means not only that Poly did not ‘use’

                                  20   the trade secrets within the meaning of the statutes, it also means that Cisco did not

                                  21   suffer any harm as a result of Poly’s conduct. Thus, for the same reason that Cisco

                                  22   cannot demonstrate ‘use,’ it similarly cannot demonstrate damages. This provides an

                                  23   alternate basis for granting Poly’s summary judgment motion, though it involves the same

                                  24   analysis as for the “use” prong.

                                  25          3.     Other motions

                                  26          In light of defendants’ motions for summary judgment being granted as to all

                                  27   claims, Cisco’s motion for partial summary judgment regarding affirmative defenses (Dkt.

                                  28   251) is denied as moot. Poly’s Daubert motions (Dkt. 248, 253, 258) are similarly denied
                                                                                    22
                                       Case 4:19-cv-07562-PJH       Document 379         Filed 03/22/23   Page 23 of 24




                                  1    as moot. Cisco’s later-filed Daubert motions (Dkt. 340, 343, 346, 350, 353) are also

                                  2    denied as moot.

                                  3           As mentioned above, the parties have filed a total of 47 sealing motions. See Dkt.

                                  4    228, 229, 231, 232, 239, 241, 249, 250, 254, 255, 259, 260, 262, 263, 266, 267, 269,

                                  5    270, 271, 279, 280, 283, 284, 287, 295, 296, 302, 303, 304, 307, 308, 309, 311, 331,

                                  6    334, 339, 341, 342, 345, 347, 348, 349, 351, 352, 365, 367, 372. As discussed at the

                                  7    hearing, none of the material in the parties’ briefs meets the Ninth’s Circuit’s high

                                  8    threshold for sealing records attached to dispositive motions, that “compelling reasons”

                                  9    support secrecy. See Kamakana v. City and County of Honolulu, 447 F.3d 1172, 1180

                                  10   (9th Cir. 2006). To the extent that any party seeks the sealing of any portion of the briefs,

                                  11   that request is DENIED. All parties are directed to file unredacted versions of its briefs on

                                  12   the public docket, no later than April 7, 2023.
Northern District of California
 United States District Court




                                  13          As to the sealing of the exhibits submitted by the parties, the motions to seal such

                                  14   exhibits are DENIED without prejudice. The court will allow the parties to file a renewed,

                                  15   narrowed motion to seal, seeking only the sealing of exhibits, or portions thereof, that the

                                  16   parties wish to have be part of the summary judgment record in light of this order, and

                                  17   those exhibits, or portions thereof, which also meet the high standard for sealing, i.e.,

                                  18   those exhibits for which the parties would seek to seal the courtroom if presented to a

                                  19   jury. Any renewed motion must be consistent with this district’s Civil Local Rule 79-5,

                                  20   which states that parties must “avoid wherever possible sealing entire documents (as

                                  21   opposed to merely redacting the truly sensitive information in a document).” Any

                                  22   renewed motion to seal must be filed no later than April 7, 2023.

                                  23                                          CONCLUSION

                                  24          For the foregoing reasons, Poly’s motion for summary judgment (Dkt. 261) is

                                  25   GRANTED, Chung’s motion for summary judgment (Dkt. 251) is GRANTED, Cisco’s

                                  26   motions for evidentiary sanctions (Dkt. 230, 233) are DENIED, Cisco’s motion for partial

                                  27   summary judgment is denied (Dkt. 252) as moot, and all pending Daubert motions (Dkt.

                                  28   248, 253, 258, 340, 343, 350, 353) are denied as moot.
                                                                                    23
                                       Case 4:19-cv-07562-PJH      Document 379         Filed 03/22/23   Page 24 of 24




                                  1           The motions to seal are denied to the extent they seek sealing of any portion of

                                  2    any brief, and denied without prejudice to the extent they seek sealing of a narrowed set

                                  3    of exhibits.

                                  4           IT IS SO ORDERED.

                                  5    Dated: March 22, 2023

                                  6                                                   /s/ Phyllis J. Hamilton
                                                                                  PHYLLIS J. HAMILTON
                                  7                                               United States District Judge
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Northern District of California
 United States District Court




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